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                                                    THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    UNITED STATES OF AMERICA,                         CASE NO. CR20-0171-JCC-3
10                          Plaintiff,                  MINUTE ORDER
11           v.

12    YI JUN CHEN,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Defendant’s motion to withdraw and substitute
18   counsel (Dkt. No. 68). Having thoroughly considered the motion and the relevant record, the
19   Court hereby GRANTS the motion. David Reiner Hammerstad may withdraw and Michael
20   Austin Stewart may act as new counsel for Defendant.
21          DATED this 6th day of November 2020.
22                                                          William M. McCool
                                                            Clerk of Court
23

24                                                          s/Paula McNabb
                                                            Deputy Clerk
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